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                                      UNITED STATES DISTRICT COURT
14                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
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16                                                )
      Innovation Law Lab, et al.,                 )
17                                                )
                          Plaintiffs,             )   NOTICE OF APPEAL
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19                                                )
                                                  )
20    v.                                          )   Civil Action No. 3:19-cv-0807-RS
                                                  )
21
      Kirstjen Nielsen, et al.,                   )
22                                                )
                          Defendants.             )
23                                                )
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     NOTICE OF APPEAL
     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
               Defendants hereby appeal from the Court’s Order entered April 8, 2019 (ECF No.
 1
 2   73), in the above-captioned case to the United States Court of Appeals for the Ninth Circuit.

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                                                  Respectfully submitted,
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 5                                                JOSEPH H. HUNT
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 7                                                SCOTT G. STEWART
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19   Dated: April 10, 2019                        Attorneys for Defendants

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     NOTICE OF APPEAL
     Innovation Law Lab v. Nielsen,                  1
     Case No. 3:19-cv-0807-RS
 1                                     CERTIFICATE OF SERVICE
 2             I hereby certify that on April 10, 2019, I electronically filed the foregoing document with
 3   the Clerk of the Court for the United States Court of for the Northern District of California by
 4   using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be
 5   accomplished by the CM/ECF system.
 6
                                        By: /s/ Erez Reuveni
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 8                                          Assistant Director
                                            United States Department of Justice
 9                                          Civil Division
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     NOTICE OF APPEAL
     Innovation Law Lab v. Nielsen,                     2
     Case No. 3:19-cv-0807-RS
